                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                    No. 5: l 9-CR-230-BO

 UNITED STATES OF AMERICA,

        V.                                                           ORDER

 DAVID E. PIVER,

                Defendant.


       This matter is before the Court upon a motion by the Defendant to consolidate the plea and

sentencing hearings in the above-referenced matter. For the reasons stated in Defendant' s motion,

Defendant' s motion is hereby GRANTED. The Court finds that the information in the record as

of the time of the hearing will enable the Court to meaningfully exercise its sentencing authority

under 18 U.S.C. §3553 .

       IT IS HEREBY ORDERED that the Defendant' s arraignment and sentencing hearings are

hereby consolidated and scheduled for December 12, 2019.

       Thisthe.J_dayof       ~              2019.




                                     CHIEF UNITED STATES DISTRICT JUDGE
